         Case 09-31457             Doc 65 Filed 03/28/16 Entered 03/28/16 11:22:39                    Desc Order
                                        Closing Reopened Case Page 1 of 1
                                            UNITED STATES BANKRUPTCY COURT
                                               Western District of North Carolina
                                                      Charlotte Division

                                                      Case No. 09−31457
                                                          Chapter 13




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Yurii Korotkov                                                       Iryna Pavlovna Korotkov
          fdba Grey Goose LLC                                             aka Iryna Korotkova
       3012 Twilight Lane                                              3012 Twilight Lane
       Monroe, NC 28110                                                Monroe, NC 28110
       Social Security No.: xxx−xx−8440                                Social Security No.: xxx−xx−9624




                                  ORDER CLOSING REOPENED CASE

The Court having reviewed the record in this matter and it appearing that the above−named Chapter 13 case, having
been reopened on October 30, 2015 is now ready to be closed.

BASED UPON THE FOREGOING, IT IS HEREBY ORDERED that the above−named case be CLOSED.



Dated: March 28, 2016                                              BY THE COURT


                                                                   Laura T. Beyer
                                                                   United States Bankruptcy Judge


Electronically filed and signed (3/28/16)
